        Case 4:05-cr-00305-SWW Document 1302 Filed 10/03/13 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

vs.                                    4:05CR00305-019 SWW

JAMES FREDERIC HOWARD                                                         DEFENDANT

                                              ORDER

       The above entitled cause came on for hearing September 26, 2013 on the government’s

motion to revoke defendant’s conditions of supervised release previously granted in the United

States District Court for the Eastern District of Arkansas. The defendant stipulates to the violations

as alleged. The Court withholds a ruling in this matter and continues the hearing for sixty days to

see how defendant will comply with the conditions of his supervised release.

       IT IS THEREFORE ORDERED that the hearing on the issue of revocation of supervised

release in this matter hereby is continued until 1:00 p.m. on FRIDAY, DECEMBER 6, 2013, in

Room #389, Richard Sheppard Arnold United States Courthouse, Little Rock, Arkansas. Defendant

shall report to the U. S. Probation Office one hour prior to the hearing for drug testing.

       Defendant is to continue to be under supervision and is reminded that he shall comply with

and abide by all of the conditions of his supervised release. If defendant violates the conditions of

his supervised release prior to the date of this scheduled hearing, a revocation hearing may be

scheduled immediately.

       IT IS SO ORDERED this 3rd day of October 2013.


                                                      /s/Susan Webber Wright
                                                      UNITED STATES DISTRICT JUDGE
